       CASE 0:08-cv-01148-PJS-JJK Document 80 Filed 04/21/09 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 RONDA ZEGAR on behalf of herself and all                 Case No. 08-CV-1148 (PJS/JJK)
 others similarly situated,

                        Plaintiff,
                                                                       ORDER
 v.

 NATIONWIDE CREDIT, INC.,

                        Defendant.


       Thomas J. Lyons, Jr. and Trisa M. Roy, CONSUMER JUSTICE CENTER PA, for
       plaintiff.

       Thomas A. Harder, FOLEY & MANSFIELD, PLLP, for defendant.

       This matter is before the Court on the motion of plaintiff Ronda Zegar for class

certification. Defendant Nationwide Credit, Inc. (“Nationwide”) filed a motion for summary

judgment on January 28, 2009, that is also pending on the docket, but Nationwide did not file a

brief in support of that motion. Instead, Nationwide asked for summary judgment in the brief it

filed in opposition to Zegar’s class-certification motion. And rather than filing a reply brief with

respect to her class-certification motion, Zegar filed an affidavit seeking limited further

discovery under Rule 56(f) of the Federal Rules of Civil Procedure.

       Under the circumstances, the Court finds good cause to allow Zegar to take the requested

discovery. The Court therefore denies the parties’ motions without prejudice to renewal after

discovery is completed in accordance with this order.

       The Court further instructs Nationwide that if it intends to move for summary judgment,

it must comply with the relevant local rules with respect to filing and briefing such motions.

Local Rule 7.1(b) requires a party seeking summary judgment to file its supporting
       CASE 0:08-cv-01148-PJS-JJK Document 80 Filed 04/21/09 Page 2 of 2




memorandum of law at least 45 days before the hearing on the motion, and — contrary to what

Nationwide seems to believe — nothing in Rule 56(b) of the Federal Rules of Civil Procedure

relieves parties of the requirements of Local Rule 7.1(b).

                                             ORDER

       Based on the foregoing and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      The motion of plaintiff Ronda Zegar for class certification [Docket No. 61] is

               DENIED WITHOUT PREJUDICE.

       2.      The motion of defendant Nationwide Credit, Inc. for summary judgment [Docket

               No. 56] is DENIED WITHOUT PREJUDICE.

       3.      Plaintiff Ronda Zegar will be permitted to take the depositions of Ted Schuman

               and James Reid at a time to be arranged by the parties but no later than Friday,

               May 8, 2009.

 Dated: April 21, 2009                            s/Patrick J. Schiltz
                                                  Patrick J. Schiltz
                                                  United States District Judge




                                                -2-
